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                  United States Court of Appeals
                               For the First Circuit


      No. 23-1802

        UNITED STATES; STATE OF ARIZONA; STATE OF CALIFORNIA; DISTRICT
        OF COLUMBIA; STATE OF FLORIDA; COMMONWEALTH OF MASSACHUSETTS;
           COMMONWEALTH OF PENNSYLVANIA; COMMONWEALTH OF VIRGINIA,

                               Plaintiffs, Appellees,

                                            v.

                           AMERICAN AIRLINES GROUP INC.,

                               Defendant, Appellant,

                            JETBLUE AIRWAYS CORPORATION,

                                        Defendant.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Leo T. Sorokin, U.S. District Judge]


                                         Before

                               Barron, Chief Judge,
                        Kayatta and Gelpí, Circuit Judges.


           Gregory G. Garre, with whom Alfred C. Pfeiffer, Jr., Samir
      Deger-Sen, Christopher S. Yates, Farrell J. Malone, Peter E. Davis,
      Christine C. Smith, Marissa Marandola, and Latham & Watkins LLP
      were on brief, for appellant.

           Mark C. Fleming, Leon B. Greenfield, Natalie M. Morrissey,
      Wilmer Cutler Pickering Hale and Dorr LLP, Tyler S. Badgley, Kevin
      R. Palmer, and U.S. Chamber of Commerce Litigation Center on brief
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      for Chamber of Commerce of the United States of America, amicus
      curiae.

           Peter J. Carney, Dana Foster, Cansu Gunel, Andrew Hamm, Bryan
      D. Gant, and White & Case LLP on brief for The International Center
      for Law & Economics and Antitrust Scholars, amici curiae.

           Daniel E. Haar, with whom Jonathan S. Kanter, Assistant
      Attorney General, U.S. Department of Justice, Antitrust Division,
      Doha G. Mekki, Principal Deputy Assistant Attorney General, Hetal
      J. Doshi, Deputy Assistant Attorney General, Michael B. Kades,
      Deputy Assistant Attorney General, David B. Lawrence, Policy
      Director, Markus A. Brazill, Counsel to the Assistant Attorney
      General, William H. Jones II, Counsel to the Director of Civil
      Litigation, Patricia C. Corcoran, James H. Congdon, Scott L.
      Reiter, John J. Sullivan, Nickolai G. Levin, Matthew A. Waring,
      and Alice A. Wang were on brief, for appellees.

           Robert K. Shelquist, Lockridge Grindal Nauen PLLP, and
      Christopher L. Sagers, on brief for Professors of Law, Business,
      and Economics, amici curiae.


                                  November 8, 2024
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                  KAYATTA, Circuit Judge.         In 2020, American Airlines and

      JetBlue entered into a joint venture called the Northeast Alliance

      ("NEA"), under which the carriers effectively agreed to operate as

      a single airline with respect to most of their routes in and out

      of Boston and New York City.           The U.S. Department of Justice

      ("DOJ"), joined by several states, filed suit to enjoin the

      carriers from proceeding with the NEA, alleging that it ran afoul

      of the Sherman Act as an unreasonable restraint on competition.

      After an extensive bench trial, the district court agreed and

      entered judgment for plaintiffs.            American Airlines now appeals.

      Seeing no reversible error of either fact or law, we affirm.                 Our

      reasoning follows.

                                           I.

                                           A.

                  In the passenger airline industry, where "market share

      and capacity" have become "concentrated among a relatively small

      number of domestic carriers," United States v. Am. Airlines Grp.

      Inc., 675 F. Supp. 3d 65, 76 (D. Mass. 2023), American and JetBlue

      are no minor players.     American is arguably the largest airline in

      the world and one of four airlines that collectively control around

      eighty percent of domestic air travel.            Id. at 73.      It is one of

      three "global network carriers" ("GNCs") operating in the U.S.

      today -- each GNC (American, Delta Air Lines, and United Airlines)



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      "possess[es] [a] broad network[]" of hub-and-spoke operations to

      reach a "wide range of origins and destinations . . . either

      directly      or   through     connecting       itineraries."         Id.     at     76.

      American's domestic hubs as of 2019 included Charlotte, Chicago,

      Dallas/Fort        Worth,    Los     Angeles,      Miami,      New    York         City,

      Philadelphia, Phoenix, and Washington, D.C.                 Id. at 80.

                    Meanwhile, JetBlue is the sixth largest airline in the

      U.S.      Id. at 73.   It is younger than American and has historically

      operated with a reputation as a "disruptor" that aggressively

      competes       with    older       legacy       carriers,      with        documented

      procompetitive effects.            Id. at 79–80.       Given its evolution and

      pursuit of growth, JetBlue now falls within a category of hybrid

      carriers that are neither GNCs nor "low-cost carriers" ("LCCs"),

      i.e., those that generally rely on "point-to-point flying using a

      single type of aircraft . . . [and] class of service."                     Id. at 76,

      79.       Like LCCs, JetBlue maintains a lower cost structure and

      generally provides lower fares, although its cost structure has

      become more complex in recent years.              Id. at 79, 102.      But it also

      operates what could be considered a regional hub-and-spoke network

      out of the Northeast, with six "focus cities" as of 2019: New York

      City (its headquarters), Boston, Fort Lauderdale, Orlando, Los

      Angeles, and San Juan.         Id. at 79.       Around seventy-five percent of




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      JetBlue's routes fly in or out of New York or Boston, its two

      largest focus cities.      Id.

                  Through June 2020, American and JetBlue competed with

      each other across all markets both airlines served.                    Id. at 80.

      In    the    Northeast,     American        and   JetBlue      were       leading

      competitors -- they were two of the four largest carriers operating

      in New York, and two of the largest three in Boston.                   Id. at 73.

      In Boston, JetBlue and the three GNCs controlled more than eighty

      percent of the domestic air travel market in 2019, whereas in New

      York the four carriers' combined market share exceeded seventy

      percent.     Id. at 78.     In this northeast region, American and

      JetBlue competed to provide nonstop service on twenty-nine routes

      to and from New York and Boston, with significant market shares on

      many of those routes. Because "strategic fare and schedule changes

      are the subject of continual analysis and discussion," id. at 77,

      competitors like American and JetBlue generally reacted to any

      fare or schedule change by the other carrier in the same market,

      id. at 77, 80.

                  Within this competitive environment, there are various

      constraints on a carrier's ability to operate at a particular

      airport and expand the routes it may offer.             One such constraint

      is access to gates, which are limited in number and sometimes fully

      allocated among existing carriers at any given time.                   Id. at 78



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      n.10.     As such, a carrier looking to initiate or expand service

      needs to secure access to the requisite gates.                 Id. at 78.        At

      certain heavily congested airports, like JFK and LaGuardia ("LGA")

      in New York, carriers must also secure access to slots, which

      refers to authorization from the Federal Aviation Administration

      ("FAA") to take off or land in a particular time slot.                   Id.   Both

      gates     and    slots    are    "scarce,     valuable,     and    sought-after

      resources."      Id.

                  In    terms    of    domestic     cooperation    among       airlines,

      carriers in the United States historically have only engaged in

      small-scale arrangements, unlike the extensive cooperation between

      GNCs and various international carriers to expand service to

      outlying destinations through commingled itineraries.                   See id. at

      80–81.      Domestically,       cooperative    arrangements       have   included

      interline agreements, where if one carrier promises to rebook its

      passengers after a cancelled flight, it may do so using its

      partner's flights in addition to its own.               Id. at 81.        Carriers

      have also engaged in code-sharing, where a carrier allows customers

      of another carrier to purchase seats on a particular flight via

      either carrier's website.         Id.

                  In 2019, American started to develop a "new domestic

      strategy" that involved strengthening its partnerships with other

      carriers to address its apparent weaknesses on both the West and



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      East Coast.      Id.    On the West Coast, this strategy culminated in

      February 2020         with   the     announcement            of        the    West     Coast

      International     Alliance      ("WCIA")           between     American       and     Alaska

      Airlines.       Id.     The WCIA made Alaska a member of American's

      "oneworld alliance" with international carriers, continued the two

      carriers' code-sharing partnership, and established "capped and

      non-reciprocal        revenue   sharing"       between       certain         complementary

      markets.    Id. at 81–82 (emphasis omitted).                   Importantly, the WCIA

      did not include any coordination between the carriers regarding

      capacity, scheduling, network planning, or market allocation on

      direct overlapping routes.           Id. at 82.          Indeed, the two carriers

      were effectively not direct competitors prior to the WCIA, which

      instead was meant to leverage their complementary networks.                                Id.

      The WCIA, which American described as a success, is still in effect

      today.    Id.

                  On the East Coast, American's new domestic strategy

      played out differently.         In New York, American was worried about

      United and Delta's growth, and perceived its own operations as

      insufficiently        profitable     even     though      --      as    of    2019    --   it

      maintained the second-most slots at LGA and the third-most at JFK.

      Id. at 83. Additionally, American perceived that some of its slots

      at JFK were "under heavy scrutiny" by the FAA for underuse and

      were therefore at risk.            Id.     Meanwhile, JetBlue had concerns of



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      its own.     Its growth in New York had tapered due to its inability

      to obtain more slots at JFK or LGA.                 Id.      And by 2020, it was

      worried about Delta's investment in growth in Boston as a threat

      to its dominance at Logan.         Id.

                   As a result, talks began in late 2019 between American

      and JetBlue regarding a possible lease of some of American's

      underused slots at JFK.          Id.     But negotiations, which continued

      through the start of the Covid-19 pandemic, soon expanded to

      contemplate a broader WCIA-style alliance in the Northeast.                          Of

      primary concern to both carriers was the hope of addressing the

      perceived competitive threat that Delta posed in key markets in

      the region.       Id.      As part of the negotiations, the carriers

      produced a hypothetical joint network schedule for 2023 that pooled

      and    "optimized"      their   resources,       including     expected       aircraft

      fleets, to evaluate what a partnership could achieve in terms of

      estimated passenger traffic and revenue.                Id. at 84.

                   On July 15, 2020, American and JetBlue announced the

      result of their partnership: the Northeast Alliance ("NEA").                        Id.

      Established     through     a   set     of      contracts,     the    NEA    included

      "codesharing, schedule coordination, revenue sharing, reciprocal

      loyalty benefits, and joint corporate customer benefits."                           Id.

      Both      carriers'   short-haul       services,      as     well    as     American's




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      long-haul services touching Logan, JFK, LGA, and Newark ("the NEA

      airports"), were included.          Id.

                  One of the NEA's core features is "the optimization of

      American's and JetBlue's route networks and scheduling of flight

      times and frequencies at the NEA [a]irports." Id. at 85 (quotation

      marks omitted).         Though the agreement states that each carrier

      will continue to operate independently as to pricing, capacity,

      and network management decisions, the NEA's process of creating a

      joint schedule "necessarily involves cooperation . . . regarding

      capacity allocation" decisions, both generally and with respect to

      individual routes.        Id.      To that end, the NEA provides for the

      carriers    to   pool    airport   infrastructure,     including       slots   and

      gates.    Id.

                  As for revenue sharing, American and JetBlue's stated

      goal is to align the parties' incentives and achieve "metal

      neutrality," meaning an indifference as to whether a passenger

      within the NEA region flies on a JetBlue or American plane.                    Id.

      The carriers' contract sets out a complex process to split their

      revenue pool annually, where each carrier receives a base amount

      of passenger-related revenue based on their respective performance

      during the most recent year, after which the carriers divide the

      remaining incremental revenue in the pool based on each carrier's

      proportion of total NEA capacity for that year.                 Id. at 85—86.



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       The actual mechanics of the revenue-sharing process involve one

       carrier making an annual "transfer payment" of excess revenue due

       to the other under the terms of the agreement.             Id. at 86.

                  The NEA, by its terms, lasts for at least seven years

       and would continue indefinitely absent affirmative efforts by

       either party to terminate.       Id. at 87.    As amended, the NEA limits

       each airline's ability to transfer or sell any slots at JFK or LGA

       to other third-party carriers.          Id.    It also includes promises

       made as part of the carriers' commitments to the U.S. Department

       of   Transportation    ("DOT")    in    connection     with    that    agency's

       regulatory review of the NEA.           Id.   Those include, among other

       things, a promise by JetBlue not to exit certain JFK routes it

       served prior to the Covid-19 pandemic, and an agreement to divest

       certain slots at JFK if certain growth requirements are not met.

       Id. at 87–88.    Additionally, the parties amended the NEA to remove

       revenue sharing on six carve-out routes (all of which ended at

       Logan) on which American and JetBlue had a particularly high market

       share.   Id. at 88.

                                              B.

                  On September 21, 2021, DOJ, along with several states,

       filed suit to enjoin American and JetBlue from further implementing




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       the NEA.1      Plaintiffs alleged that the NEA violated section one of

       the         Sherman       Act,      which        prohibits         "contract[s],

       combination[s] . . ., or conspirac[ies], in restraint of trade or

       commerce."       15 U.S.C. § 1.

                     In September 2022, the case proceeded to a monthlong

       bench trial.          As the district court noted, the trial featured

       "testimony by two dozen witnesses, most of whom were either

       executives of the defendants or experts paid for their testimony

       by one side or the other[,] . . . augmented by more than 2,700

       pages of excerpts from the depositions of seventeen additional

       witnesses."      Am. Airlines Grp., 675 F. Supp. 3d at 74.                "More than

       a     thousand       exhibits    were     admitted     into     evidence,"       and

       "[p]ost-trial written submissions by the parties exceeded six

       hundred pages."        Id.

                     In relevant part, six expert witnesses testified -- two

       for plaintiffs, four for defendants.             Id. at 100—01.     Put bluntly,

       the district court did not react favorably to defendants' experts.

       It rejected "entirely" the opinions and conclusions of three of

       defendants' four experts for two main reasons.                Id. at 104.    First,

       the court found them biased.             Id. at 101.     Each had extensively

       (and       largely    uniformly)    defended      GNCs    in    past      antitrust


              1By the time of trial, the NEA was approximately
       eighty-percent implemented. See Am. Airlines Grp., 675 F. Supp.
       3d at 89.

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       litigation.       Id.     They also each acted and spoke like advocates

       invested in obtaining a ruling for the airlines.                             Id.        And the

       court     found     their       testimony     itself        generally       not    credible,

       concluding that much of it rested on faulty assumptions.                                 Id. at

       101—04.

                                                     C.

                    On May 19, 2023, the district court issued its findings

       of fact and conclusions of law.                    As to its factual findings, the

       district court specifically identified seven key effects resulting

       from the NEA.

                    First,       the    district       court       found    that    American        and

       JetBlue no longer competed within the scope of the NEA.                                  Id. at

       89.    More specifically, the NEA's schedule-coordinating provisions

       caused the carriers to act as one airline in the NEA region "when

       choosing which routes to fly, when to fly them, and which aircraft

       (and which partner) will do so."                    Id.     The NEA's revenue-sharing

       provisions were also designed to render the carriers indifferent

       as to which carrier a customer uses within the NEA region.                                 Id.

                    Second, the district court found that the NEA caused

       both     carriers    to     adjust      their      network      priorities,        with     both

       focusing more on growing in New York at the expense -- because of

       fleet-size     constraints         --    of     "some       pre-NEA    plans       to    devote

       resources to growth elsewhere."                 Id. at 90.       To that end, the court



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       rejected as factually unsupported the claim that the NEA caused

       the carriers to expand (or at least delay shrinking) their fleets.

       Id. at 91 n.44.

                   Third, the court found that after the NEA was announced,

       American's slots at JFK and LGA were used "more heavily and

       efficiently."     Id. at 92.     However, the court found that this

       occurred in part because American had leased certain slots to

       JetBlue (which may have been likely without the NEA) as well as

       "upgauged" some of its aircraft and added some routes at those

       slots.   Id.   And the court found no plausible explanation for why

       those changes could not have occurred without the NEA.                 See id.

                   Fourth, the court found that the NEA led to "decreased

       capacity,    lower   frequencies,    or     reduced   consumer        choice   on

       multiple routes, including some that are heavily traveled."                    Id.

       For one, American and JetBlue allocated certain routes to one or

       the other carrier      in at least thirteen markets touching LGA

       (including Boston-LGA, from which American exited), which reduced

       the total frequencies or capacity in certain NEA markets.2                Id. at

       92–93.    The court also noted that the evidence suggested that

       defendants would "continue to allocate more markets between them."

       Id. at 93.     Additionally, the court found that even on the routes



            2  American debates the factual underpinnings of this finding,
       which we discuss infra.

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       that both carriers continued to serve, defendants ceased competing

       on "wing tip[]" flights, meaning flights departing at the same

       time of day.     Id. at 93 & n.45.

                   Fifth, the court found that the NEA's reciprocity and

       code-sharing features caused frequent fliers and many corporate

       clients to gain broader access to benefits and discounts.                  Id. at

       93.   However, the court noted that such travelers accounted for a

       relatively small percentage of American's customers.                   Id. at 93—

       94.

                   Sixth, the court found that the NEA raised JetBlue's

       operating    costs   and   deprived   the    airline    of   two   significant

       opportunities to expand its collection of slots and approvals,

       undermining the carrier's role as a maverick "disruptor" in the

       market.    Id. at 94–95, 79.      More specifically, JetBlue lost out on

       more favorable slots at London's Heathrow Airport because of the

       NEA and similarly lost slots for which it had bid at Newark based

       on DOT's findings about the NEA's likely effects on JetBlue's

       market position.     Id. at 95 & n.52.

                   Seventh and finally, the court found that the NEA's

       "spirit of partnership" had already led American and JetBlue to

       disregard the NEA's safeguards. Id. at 96. Specifically, pursuant

       to the terms of the NEA's revenue-sharing provisions, at the end

       of 2021,     JetBlue owed American a "transfer payment" of over



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       $200 million.        Id.   However, American forgave most of that amount

       and instead agreed to accept a transfer payment of $27 million.

       Id.      And even after disregarding the NEA's express requirements,

       the carriers declined to amend the contracts accordingly -- a

       decision the district court found to undermine the carriers' claims

       that other provisions in the NEA would have guaranteed that they

       adhered       to     certain         procompetitive          conduct     or      prevent

       anticompetitive effects.             Id. at 96–97.

                                                    D.

                    Based    on    its      factual      findings,    the     district     court

       proceeded to assess the lawfulness of the NEA.                            Courts have

       construed the Sherman Act to preclude only those contracts that

       "unreasonably restrain competition."                   N. Pac. Ry. Co. v. United

       States, 356 U.S. 1, 5 (1958).                "A small group of restraints are

       unreasonable per se because they 'always or almost always tend to

       restrict competition and decrease output.'"                     Ohio v. Am. Express

       Co. (Amex), 585 U.S 529, 540 (2018) (quoting Bus. Elecs. Corp. v.

       Sharp     Elecs.   Corp.,      485    U.S.     717,    723    (1988)).         Otherwise,

       "[d]etermining whether a restraint is undue for purposes of the

       Sherman Act 'presumptively' calls for what [courts] have described

       as a 'rule of reason analysis.'"                  NCAA v. Alston, 594 U.S. 69, 81

       (2021) (quoting Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006)).




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                     A     rule-of-reason      analysis      requires     a   fact-specific

       assessment of the restraint's actual effect on competition.                       Amex,

       585    U.S.    at    541.      Under     the   rule     of   reason's        three-step

       burden-shifting framework, the plaintiff must first make a showing

       that the restraint has a substantial anticompetitive effect, which

       can be proven directly or indirectly.                   Id. at 541—42.           If the

       plaintiff carries that burden, the burden shifts to the defendant

       to show a "procompetitive rationale for the restraint."                          Id. at

       541.     And "[i]f the defendant makes this showing, then the burden

       shifts back to the plaintiff to demonstrate that the procompetitive

       efficiencies         could     be      reasonably      achieved        through     less

       anticompetitive means,"             id. at 542, or that on balance, the

       restraint's harms outweigh its benefits, see Sullivan v. Nat'l

       Football League, 34 F.3d 1091, 1111 (1st Cir. 1994).

                     In applying the rule of reason, the district court found

       that plaintiffs met their burden of showing that the NEA had direct

       anticompetitive effects in three ways.                  Most significantly, the

       district court found that the NEA "led to decreased capacity, lower

       frequencies,          or     reduced     customer        choices       on      multiple

       routes . . . ."         Am. Airlines Grp., 675 F. Supp. 3d at 92.                 As to

       what drove that reduction in output, the district court made three

       further findings. First, the court found that JetBlue and American

       no longer directly competed with each other within the NEA region,



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       reducing market participants in the already extremely consolidated

       region by one.       Second, by aligning its interests with American,

       JetBlue sacrificed some of its independence and status as an

       important maverick competitor in the industry.                    And third, the

       NEA's      feature    of    schedule/route         "optimization"          (including

       assigning routes to either American or JetBlue) closely resembled

       per se illegal market allocation.3               See Am. Airlines Grp., 675 F.

       Supp. 3d at 113–17.

                    Next, the court found that American and JetBlue failed

       to carry their burden to show a procompetitive rationale for the

       NEA's      anticompetitive       restraints,        because     their       asserted

       justifications       either    were    not   legally     cognizable        or    lacked

       evidentiary support.          Id. at 120–26.       It also found that the NEA

       was not an otherwise lawful joint venture with restraints merely

       ancillary     to   its   overarching      procompetitive      purpose,          such   as

       pooling complementary resources to develop a new service.                        Id. at

       122.       Rather, the NEA's anticompetitive features were "at its

       core."     Id. at 123.     For example, the court found that the primary

       reason for the NEA was to strengthen defendants' competitive

       position at the expense of Delta (and United) -- rather than



              3The district court also found that plaintiffs alternatively
       satisfied their burden at step one of the rule of reason by showing
       that the NEA had anticompetitive effects through indirect
       evidence. Am. Airlines Grp., 675 F. Supp. 3d at 117–19.

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       maximizing "customer value."           Id. at 120—21.     As to the remainder

       of defendants' asserted benefits, that evidence supported at most

       only one arguable benefit -- more flexible loyalty benefits.

       Assuming that flexibility to be procompetitive, the district court

       nevertheless found it "de minimis compared to the anticompetitive

       harms the court has found . . . ."            Id. at 124, 126.

                     The district court closed with step three.                  It found

       that the NEA's ostensible procompetitive benefits could have been

       achieved      through   less   restrictive      alternatives    --    namely,     an

       agreement like the WCIA between American and Alaska Airlines -- and

       that,    on   balance,   the   NEA's    harms    outweighed     any      cognizable

       benefits.      Id. at 126—28.

                     In light of its findings, the district court enjoined

       American and JetBlue from continuing or further implementing the

       NEA.     Id. at 128.     The court's injunction ordered them to cease

       all coordination of schedules, routes, or any effort to allocate

       markets.      It also prohibited the carriers from entering into any

       arrangement substantially similar to the NEA.                To that end, the

       injunction required that defendants provide notice to plaintiffs

       prior to entering into any such arrangement.




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                  Shortly after the injunction entered, JetBlue exited the

       NEA pursuant to its terms of cancellation.             American, the only

       remaining defendant, appealed.4

                                           II.

                  We review the district court's conclusions of law de

       novo and its factual findings for clear error.                  Calandro v.

       Sedgwick Claims Mgmt. Servs. Inc., 919 F.3d 26, 33 (1st Cir. 2019).

       The district court's findings of fact must be honored unless,

       "after careful evaluation of the evidence, we are left with an

       abiding conviction that those determinations and findings are

       simply wrong."    State Police Ass'n of Mass. v. Comm'r of Internal

       Revenue, 125 F.3d 1, 5 (1st Cir. 1997); Fed. R. Civ. P. 52(a)(6).

                  On appeal, American nowhere expressly argues that any of

       the district court's factual findings were clearly erroneous.



            4  Even though the NEA is no longer in effect, American
       requests that we vacate the district court's permanent injunction
       prohibiting it from pursuing similar arrangements in the future,
       as well as subjecting it to a notice requirement prior to entering
       into any such arrangement.      American also indicated at oral
       argument that it intends to enter into another NEA-like arrangement
       if we grant its requested relief.       For all of these reasons
       collectively, American's appeal is not moot. See Auto Parts Mfg.
       Miss., Inc. v. King Constr. of Houston, L.L.C., 782 F.3d 186, 192
       (5th Cir. 2015) ("Because appellants request vacatur of the
       permanent injunction, there is still a live issue before this
       court, and the challenge to the district court's injunctive relief
       is not moot."); cf. Town of Portsmouth v. Lewis, 813 F.3d 54, 58
       (1st Cir. 2016) ("[A] case is moot when the court cannot give
       effectual relief to the potentially prevailing party." (citation
       omitted)).

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       Instead, American trains its attention on the district court's

       rule-of-reason analysis, arguing that legal error befell it each

       step of the way.    We treat each of American's arguments in turn.

                                           A.

                  American first takes issue with the mode of analysis the

       district court employed to assess the NEA's lawfulness under the

       Sherman Act. Specifically, American argues that the district court

       erroneously subjected the NEA to "quick look" condemnation rather

       than applying a full-blown rule-of-reason analysis.             It suggests

       that joint ventures like the NEA are "not usually unlawful," Broad.

       Music, Inc. v. Columbia Broad. Sys. Inc., 441 U.S. 1, 23 (1979),

       even though they inherently stifle competition between the two

       venturing firms.       Thus, it argues that the district court's

       ostensibly cursory dismissal of the NEA warrants reversal.

                  American's argument is unavailing on multiple levels.

       For one, that the NEA is a "joint venture" says little about the

       level of antitrust scrutiny it should receive.              After all, one

       could describe price fixing as a joint venture.                 Our inquiry

       therefore trains not on American's label, but rather on the terms

       and effects of the parties' agreement.         Here, the district court

       found as fact that this venture reduced output while garnering no

       competitive benefits that could not otherwise be achieved -- which

       American does not claim to be clearly wrong.          The label of "joint



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       venture" does not itself change the analysis, which is "aimed at

       substance rather than form."                   Copperweld Corp. v. Indep. Tube

       Corp., 467 U.S. 752, 760 (1984).                And while it is fair to say that

       "most joint venture restrictions" are subject to the rule of

       reason, the level of scrutiny required under that standard exists

       along a "competitive spectrum."                Alston, 594 U.S. at 88; see also

       Dagher, 547 U.S. at 7 (rejecting per se treatment of a joint

       venture).         The    rule     of     reason     is    merely        a    "fact-specific

       assessment," Amex, 585 U.S. at 541, that varies based on "the

       circumstances, details, and logic of a restraint," Cal. Dental

       Ass'n v. FTC, 526 U.S. 756, 781 (1999).                           Indeed, the leading

       treatise notes that "[t]he rule of reason is often erroneously

       assumed to require detailed fact finding and balancing" -- instead,

       the   rule   is    better       viewed    as   creating      a     "sliding        scale"    of

       antitrust analysis with many variations in proof that depend on

       context.     11 Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law:

       An Analysis of Antitrust Principles and Their Application ¶ 1508

       (4th ed. 2022) [hereinafter Areeda & Hovenkamp].

                    Moreover, the district court did not condemn the NEA

       with as quick a look as American suggests.                       Although the district

       court    formally       found    that    the    NEA      merited    a       less   "deep    and

       searching analysis," Am. Airlines Grp., 675 F. Supp. 3d at 112, it

       nonetheless made extensive and reasoned findings regarding the



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       NEA's effects on competition after conducting a monthlong bench

       trial     and    reviewing         a    mountainous       record.         Under     these

       circumstances,        we   decline        to     classify     the   district      court's

       herculean efforts in analyzing the NEA as a mere "quick look."

       Rather, tailoring its examination to the specific transaction at

       issue, the court received evidence and made findings sufficient

       for a confident and reliable assessment of the actual and likely

       effects of the NEA's adoption.

                                                       B.

                   American argues that the district court erred in finding

       that plaintiffs met their initial burden of proving that the NEA

       had substantial anticompetitive effects.                    First, American says the

       only way to prove actual anticompetitive harm to consumers in the

       relevant market is with empirical evidence "that tends to prove

       that output was restricted or prices were above a competitive

       level."     Amex, 585 U.S. at 549 (quoting Brook Grp. Ltd. v. Brown

       & Williamson Tobacco Corp., 509 U.S. 209, 237 (1993)). But whether

       there are other available routes to show anticompetitive harm

       matters    not   at    all    in       this    case    because   the   district     court

       expressly found output reduced.

                   In an attempt to challenge that finding without claiming

       clear error, American argues that the district court unlawfully

       treated    the   NEA's       empirical         effects   on   output    and     price   as



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       immaterial.         Here, we disagree.       The court expressly found that

       the NEA "led to decreased capacity, lower frequencies, or reduced

       consumer choices on multiple routes, including some that are

       heavily traveled."           Am. Airlines Grp., 675 F. Supp. 3d at 92.

       American makes no showing that these findings are clear error.

       More specifically, the district court found that in at least

       thirteen markets that American and JetBlue both previously served,

       the NEA allocated the route to one carrier and caused the other to

       exit, and that the evidence suggested that the carriers would

       continue to allocate more markets between them.                    Id. at 92–93.

       And in markets the carriers both continued to serve, the court

       found that the NEA caused American and JetBlue to cease directly

       competing on "wing tip[]" flights in those markets.                    Id. at 93.

       The      district    court    even   found      that   the   NEA's    "spirit    of

       partnership" undermined any claim that the carriers would continue

       to compete on the routes the NEA "carve[d][]out" from its joint

       schedule.     Id. at 97.      Based on these findings, the district court

       concluded that the NEA in fact "reduced total frequencies or

       capacity in certain NEA markets."            Id. at 93.5      Consequently, even


             5 For the first time on reply, American argues that with
       respect to two heavily traveled routes in which one carrier
       exited -- Boston-LGA and Boston-DCA -- total capacity as measured
       by seats increased.   However, American's only support for this
       claim is an exhibit that is not in the trial record. Moreover,
       the evidence itself is raw data from which American now offers an
       extrapolation on appeal. We decline to entertain this evidence

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       assuming arguendo that a showing of reduced capacity was required

       to find anticompetitive harm, the district court made the requisite

       findings here.

                  Without   attempting    to   show   that   the   district    court

       committed clear error in its output-related factual findings to

       the contrary, American argues that the NEA actually resulted in

       increased capacity in the form of "more flights, more seats, more

       routes, shorter connections, better frequent flyer benefits, and

       more choices."       But the district court expressly rejected as

       unreliable the evidence American offers in support of these claims.

       Indeed, with respect to American's assertions regarding the NEA's

       effects on capacity, the district court noted that "[n]o objective

       or helpful corroboration is provided by citations to defendants'

       own internal slide decks pitching the benefits or success of the

       NEA without providing reliable sources or support for the claims

       contained therein."     Id. at 125.     Yet American now cites the same

       slide deck on appeal in support of the NEA's purported success, as

       if the district court simply never made this finding.

                  American also claims that the NEA's capacity-expanding

       effects were undisputed. But the district court expressly declined

       to attribute various capacity increases to the NEA itself.                See


       and argument for the first time on appeal, particularly after a
       bench trial. See United States v. Zannino, 895 F.2d 1, 9 n.7 (1st
       Cir. 1990).

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       id. at 92.     While the district court did find that the NEA caused

       the carriers to "adjust their overall network priorities" to focus

       more on growth in New York, it also found that such growth came

       "at   the   expense   of   resources    and   output    by    the      defendants

       elsewhere."     Id. at 90, 124.     The district court expressly found

       no evidentiary support for the claim that the NEA led either

       carrier to increase its fleet rather than reallocate it.                  See id.

       at 91     n.44, 124—25.      Additionally, while the district court

       acknowledged that since the NEA was announced, "American's slots

       at JFK and LGA have been used more heavily and efficiently," it

       did not attribute this growth to the NEA because American intended

       to lease underutilized slots to JetBlue even prior to the NEA.

       Id. at 92.     And more broadly, the mere fact that airline capacity

       overall increased between 2021 and 2022 -- just as the industry

       began to recover from the Covid-19 pandemic -- did little to show

       that the NEA itself increased American or JetBlue's capacity in

       any meaningful way.6


             6 To that end, American's claim that plaintiffs' experts
       conceded at trial that the NEA did not cause any actual consumer
       harm also fails. For example, plaintiffs' expert Dr. Town simply
       testified that it would be difficult to assess whether the NEA
       caused actual consumer harm given the circumstances of the pandemic
       recovery. Additionally, Dr. Miller's testimony that his model did
       not use actual NEA schedules as inputs to observe post-NEA price
       or output effects did not amount to an admission that the NEA did
       not or would not cause any anticompetitive harm.       Rather, the
       district court found that Dr. Miller "explained why he chose the
       models he used to assess [the NEA's] effects," and, in any event,

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                      American also contends that the district court erred in

       concluding that the NEA had direct anticompetitive effects in the

       form of market allocation and reduced consumer choice.                         American

       argues     that      each   of    the   various    anticompetitive        effects   the

       district court identified are all versions of the same point: that

       the      NEA   was    anticompetitive         because      "American     and   JetBlue

       collaborated and were no longer fully independent competitors."

       In    turn,    it    argues      that   the   court    could    only   reach    such   a

       conclusion by relying on outdated case law that it says viewed

       "the protection of rivalry," as opposed to consumer welfare, as

       the    best    means    of    promoting       competition.        However,     American

       misconstrues the district court's findings, which were legally

       sufficient.

                      For one, as we have already noted, horizontal agreements

       allocating markets between substantial competitors have generally

       been treated as per se illegal.                See Stop & Shop Supermarket Co.

       v. Blue Cross & Blue Shield of R.I., 373 F.3d 57, 61 (1st Cir.

       2004) ("The most important per se categories are naked horizontal

       price-fixing, market allocation, and output restrictions."); see


       only credited Dr. Miller's analysis to the extent it suggested
       that the NEA would create upward pricing pressure. Am. Airlines
       Grp., 675 F. Supp. 3d at 100.       Moreover, the district court
       ultimately found that it was defendants who failed to show that
       new routes launched after the NEA did not instead "ar[i]se from
       the substantial shift in flying patterns occurring during and after
       the pandemic." Id. at 125.

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       also Palmer, 498 U.S. at 49 ("[A]greements between competitors to

       allocate       territories   to    minimize       competition     are    illegal.").

       Granted, where a restraint like market allocation is "ancillary"

       to an otherwise procompetitive joint venture, per se condemnation

       of the agreement may not be warranted.                 See, e.g., Broad. Music,

       Inc., 441 U.S. at 23 (noting that joint ventures are not usually

       unlawful as price fixing where an "agreement on price is necessary

       to market the product at all").                   But here, the district court

       found     --   and   American     does   not    dispute    --   that    JetBlue   and

       American's agreement to "optimiz[e]" their route schedules and

       thereby allocate markets within the NEA region was central, not

       ancillary, to the NEA.7         Am. Airlines Grp., 675 F. Supp. 3d at 122—

       23.       Thus, the district court's finding that the NEA's market

       allocation resides near the anticompetitive end of the spectrum

       rests on stable footing.

                      None of this is to say that the district court found the

       NEA per se unlawful.         It did not.       It is to say, rather, that the

       similarity between the NEA and naked market allocation further


             7 For this reason, American's challenge to the district
       court's reliance on cases like United States v. Topco Associates,
       Inc., 405 U.S. 596, 608 (1972), which applied this per se rule to
       condemn   a  horizontal   territorial-division   agreement   among
       competing grocery chains, is irrelevant. See Areeda & Hovenkamp
       ¶ 1511(d)(3)(A) (critiquing Topco on the grounds that the Court
       should have found the restraint at issue ancillary rather than per
       se illegal, but also noting that the Supreme Court continues to
       cite Topco with apparent approval, albeit in dicta).

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       buttresses the district court's already well-supported conclusion

       that, by reducing output without producing procompetitive benefits

       that were not otherwise achievable, the NEA failed to survive a

       rule-of-reason analysis.8

                                                 C.

                        Having failed to undo the district court's conclusions

       at step one, American turns its sights to steps two and three of

       the rule-of-reason analysis.             The district court found that the

       only colorable "procompetitive rationale" for the NEA's restraints

       established by American and JetBlue was more flexible loyalty

       benefits.        Alston, 594 U.S. at 96; Am. Airlines Grp., 675 F. Supp.

       3d at 120, 124, 126.         On appeal, American argues that the district

       court improperly failed to countenance the rest of the NEA's

       ostensible procompetitive benefits as a matter of law and nullified

       step two in so doing.          Specifically, it argues that the district

       court's rejection of its asserted benefits was not based on "any

       relevant fact-finding," but rather on the flawed legal conclusion

       that       the   carriers'   asserted    benefits   only    arose    out   of   the



              8Given these conclusions, we need not reach the issue of
       whether the NEA's reduction in the number of competitors itself,
       or its effects on JetBlue's "maverick" status, constituted
       standalone anticompetitive harms. Nor must we address American's
       challenges to the district court's alternative step-one finding
       that plaintiffs established actual competitive harms indirectly
       based on American and JetBlue's "market power." Am. Airlines Grp.,
       675 F. Supp. 3d at 118—19, 118 n.88.

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       anticompetitive collaboration at the heart of the NEA.                     Yet here

       too, American's argument fails.

                     First, despite American's argument to the contrary, some

       of    its    asserted     procompetitive      justifications     are    simply     not

       cognizable.       For example, any defense of a restraint based on the

       notion that competition itself is "inefficient, unreasonable, or

       confusing" is insufficient as a matter of law.                  Viamedia, Inc. v.

       Comcast      Corp.,   951    F.3d   429,    479   (7th   Cir.   2020);     see    also

       Collaboration Guidelines § 3.36(a) ("Some asserted efficiencies,

       such as those premised on the notion that competition itself is

       unreasonable, are insufficient as a matter of law.").                  Indeed, the

       FTC    and    DOJ's   Collaboration        Guidelines    reiterate     this    point,

       describing "cognizable efficiencies" in horizontal collaborations

       as those that "do not arise from anticompetitive reductions in

       output or service, and that cannot be achieved through practical,

       significantly less restrictive means."               Collaboration Guidelines

       § 3.36.      Additionally, it is well established that other defenses

       are unacceptable, including that "the defendants fixed prices or

       divided a market in order to ensure that weaker market participants

       would get a 'fair' share of the trade," or that -- as American

       itself tries to argue -- "elimination of competition along one

       avenue . . .       will     not   affect   consumers     adversely     because     the




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       participants       will    continue     to   compete    on     price."     Areeda &

       Hovenkamp ¶ 1907(b).

                    The Sherman Act "exist[s] to protect the competitive

       process itself, not individual firms."                 Grappone, Inc. v. Subaru

       of New Eng., Inc., 858 F.2d 792, 794 (1st Cir. 1988) (Breyer, J.).

       As such, the notion that the "presence of a strong competitor

       justifies a horizontal [anticompetitive] conspiracy" is certainly

       not always the case.             See United States v. Apple, Inc., 791 F.3d

       290, 298 (2d Cir. 2015) (finding that Apple's desire to compete

       with     Amazon    in     the    e-reader    market    did    not     vindicate   its

       price-fixing conspiracy with publishers).                     The district court

       rejected on factual grounds the notion that American and JetBlue

       were "two small companies" seeking to collaborate so that they

       could     "compete        more     effectively   with        larger    corporations

       dominating the relevant market."              Am. Airlines Grp., 675 F. Supp.

       3d at 121 n.95 (quoting Brown Shoe Co. v. United States, 370 U.S.

       294, 319 (1962)).               American does not directly challenge this

       finding on appeal.          So, we see no error in the district court's

       rejection     of    American's       argument    that    the    NEA     generated   a

       procompetitive benefit for the purposes of step two in the sense

       that it better allowed the carriers to compete with Delta -- the

       NEA's principal purpose. Id. at 121—22. Indeed, "a party can[not]

       relabel a restraint as a product feature and declare it 'immune



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       from § 1 scrutiny.'"     Alston, 594 U.S. at 101 (quoting Am. Needle,

       Inc. v. Nat'l Football League, 560 U.S. 183, 199 n.7 (2010)).               To

       the extent that is what American seeks to do here, the effort is

       mistaken.    The NEA may well have benefited American and JetBlue,

       but to prevail at step two the carriers had to focus on the effects

       on consumers and "the competitive process" itself.            See Grappone,

       Inc., 858 F.2d at 794; cf. Viamedia, 951 F.3d at 479 ("[C]laimed

       benefits from [challenged] conduct must be procompetitive and not

       simply the result of eliminating competition.").

                   Moreover, American otherwise fails to show that the

       district court clearly erred in rejecting defendants' remaining

       asserted procompetitive justifications as factually unsupported.

       For one, American nowhere lodges a challenge to the district

       court's finding that the NEA was not necessary "to create a new

       product or market that could not otherwise exist," or that American

       and JetBlue's pooled assets were not "complementary" in a way that

       would -- with collaboration -- enable them to innovate in a way

       neither could alone.9     Am. Airlines Grp., 675 F. Supp. 3d at 122—



            9  American does not meaningfully dispute the district court's
       finding that the NEA in no way revolutionized the "product"
       American and JetBlue provide: flights from one place to another.
       Am. Airlines Grp., 675 F. Supp. 3d at 122 n.97. Nor does American
       dispute the district court's rejection of the claim that the NEA
       actually resulted in "better schedules" from a customer
       standpoint, given its elimination of wingtip flight competition.
       Id. at 123.

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       23.      Nor does American claim as clear error the district court's

       finding     that,    even   taking   the   carriers'     asserted     benefit   of

       increased competition with Delta on its own terms, the evidence of

       any competitive response to the NEA by Delta (or United) was

       "milquetoast, at best" and was "in line with [Delta's] typical

       responses to any moves by any competitors, included changes that

       were already part of the carrier's plans, and reflected general

       recovery trends in New York in the wake of the pandemic."                  Id. at

       124 & n.101. Indeed, rather than confront the sufficiency of these

       findings head on, American instead paints the district court's

       step-two findings as "not rooted in any relevant fact-finding" at

       all.     We are unpersuaded.

                    Perhaps most critically, American all but abandons any

       serious attempt to dispute the district court's conclusion that

       the rest of its claimed benefits "lack evidentiary support entirely

       or find support only if an artificially narrow lens is applied."

       Id. at 124.         As we explained supra at Section II.B, American's

       perfunctory      claims     regarding   the     NEA's   purported     effects   on

       capacity and output wither under even the slightest scrutiny.                   For

       example, American boasts -- as if uncontroverted -- that the NEA's

       efficiency gains caused the carriers to increase their capacity at

       NEA airports by "more than 200%" in the form of "nearly 50 new

       nonstop routes, increased frequencies on more than 130 routes,



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       [and] increased capacity on 45 New York City flights."                         For

       support, American cites only to trial exhibits consisting of

       defendants' own internal slide decks and charts reiterating these

       very claims, bereft of any primary source support.               The district

       court found this very evidence to provide "no objective or helpful

       corroboration"     of   the   carriers'      claims    regarding       the   NEA's

       successes.     Id. at 125–26, 126 n.109 (noting that by the time of

       trial, the carriers distanced themselves from various internal

       documents,     likely   realizing    their    evidentiary      flaws).        And

       American now offers no dispositive counterpoint to the district

       court's finding that, even with respect to discrete new routes

       launched within the NEA region, the carriers failed to show that

       American or JetBlue added any such routes "because of" the NEA

       itself.    Id. at 125.

                    Nor does American undercut the district court's finding

       that the carriers' claims of capacity growth disregarded evidence

       that growth within the NEA came "at the expense of resources and

       output by the defendants elsewhere,             as well as      evidence the

       defendants each would have pursued at least some of this growth

       with or without the [NEA.]"         Id. at 124.       American suggests that

       it was error for the district court to consider "out-of-market

       effects" or what would (or would not) have occurred but for the

       NEA at step two of the rule of reason, rather than simply take



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       American's asserted procompetitive benefits on their own terms.

       Not so.      These considerations -- both contextualizing defendants'

       asserted capacity effects and considering the carriers' pre-NEA

       incentives -- properly figured into the court's ultimate analysis

       of whether any such asserted benefits actually flowed from the

       NEA.

                     Finally,   American asserts        that the district court's

       step-three analysis was corrupted by its failure to credit its

       arguments about procompetitive benefits.                In doing so, American

       ignores the district court's conclusion that the procompetitive

       benefit       achieved    by   the     NEA      --   more    flexible     loyalty

       benefits -- could "plainly [be achieved] through less restrictive

       means."      Am. Airlines Grp., 675 F. Supp. 3d at 126 n.112.             Indeed,

       the district court explained that a "more limited WCIA-style

       arrangement" complete with "some degree of codesharing and loyalty

       reciprocity," similar to the agreement between American and Alaska

       Airlines on the West Coast, would have sufficed.               Id. at 127.    This

       finding is undisturbed on appeal.10




               As the Supreme Court has noted, "however framed and at
              10

       whichever step, anticompetitive restraints of trade may wind up
       flunking the rule of reason to the extent the evidence shows that
       substantially less restrictive means exist to achieve any proven
       procompetitive benefits." Alston, 594 U.S. at 100; see also Areeda
       & Hovenkamp ¶ 1505 (noting that steps two and three "can be
       collapsed into one," in part because a "legitimate objective that
       is not promoted by the challenged restraint can be equally served

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                   All in all, American fails to convince us that the

       district court committed clear factual errors or an error of law

       in finding that the carriers did not carry their burden to "justify

       the [NEA's] restraints with evidence of procompetitive benefits."

       Am. Airlines Grp., 675 F. Supp. 3d at 110 (citing NCAA v. Bd. of

       Regents of Univ. of Okla., 468 U.S. 85, 113 (1984)).11

                                               III.

                   Presented with an arrangement that had many of the

       essential     attributes   of     an     agreement    between     two    powerful

       competitors sharing revenues and divvying up highly concentrated

       markets, the district court conducted a monthlong proceeding,

       after which it made detailed findings of fact, many key ones of

       which were unfavorable to American. Seeing no clear error in those

       findings, we also see no error of law in the court's application

       of the rule of reason to conclude that the arrangement violated

       section one of the Sherman Act.

                   For the foregoing reasons, the judgment of the district

       court is affirmed.




       by simply abandoning the          restraint,      which    is   surely    a   less
       restrictive alternative").
            11 Additionally, we have otherwise considered American's
       remaining arguments and find them to be without merit.

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